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Attorneys for Petitioners

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------X
In re:                                              :
                                                   :           Chapter 15
SOVEREIGN ASSETS LTD.,                              :
                                                   :           Case No. 14-
         Debtor in Foreign Proceeding.              :
----------------------------------------------------X

                    LIST PURSUANT TO BANKRUPTCY RULE 1007(a)(4)(B)

            In connection with the Verified Petition under chapter 15 of the Bankruptcy Code, filed

contemporaneously herewith, by Adv. Guy Gissin and Adv. Rami Kogan, solely in their

capacity as Special Administrators (“Petitioners”1 or the “SAL Administrators”) of

Sovereign Assets Ltd. (“SAL” or the “Debtor”), appointed by an order (the “SAL

Liquidation Order”) in Case No. 31623-03-14 (the “SAL Liquidation Proceeding”) of

the Israel District Court of Tel Aviv-Jaffa, by and through their undersigned United States

counsel, the Petitioners hereby submit the following list in accordance with Rule 1007(a)(4)

of the Federal Rules of Bankruptcy Procedure:




1
  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Verified Petition
filed contemporaneously herewith.


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    I.         Names and Addresses Pursuant to Fed. R. Bankr. P. 1007(4)(B)

            A. The following includes the names and addresses of all persons authorized to
               administer foreign proceedings of SAL:

                   1.     Adv. Guy Gissin
                          Gissin & Co., Advocates
                          38 Habarzel St., Tel Aviv
                          Israel 69710

                   2.     Adv. Rami Kogan
                          Rami Kogan Law Offices
                          4 Berkowiz St. (The Museum Tower, 23rd floor)
                          Tel-Aviv 64238, Israel

            B. The following includes the names and addresses of all parties to litigation pending in
               the United States in which SAL is a party or which concern or relate to SAL’s Assets:

                   Saul Tawil, et al. v. Eliot Spitzer, et al.
                   Supreme/New York 652720/2011

                   1.     Plaintiffs Saul Tawil, David Tawil, Victor Tawil, Aneil Lipp, LLC,
                          Jack Franco, Sonja Cabasso, Albert Maleh, Sally Schwartz, Mark
                          Manela, Ezra I. Shehebar, Gabriel Shehebar, Jackson Group LLC,
                          Harold Jarnicki, Michael Gad and Bergman Family LLP
                          c/o Markewich and Rosenstock LLP
                          18 East 48th Street – 10th Floor
                          New York, New York 10017

                   2.     Defendants Armand Lasky and AEL Church Street, Inc.
                          c/o Robinson Brog Leinwand Greene Genovese & Gluck P.C.
                          875 Third Avenue
                          New York, New York 10022

                   3.     Defendants Abraham Poznanski and Sova Management LLC
                          c/o Berg & David PLLC
                          Attn: David Berg, Esq. and Abraham David, Esq.
                          266 Broadway – Suite 503
                          Brooklyn, New York 11211

                   4.     Defendants Eliot Spitzer, Michael Steinberg, E&S Development
                          and Properties LLC, Nashville Properties LLC
                          c/o Law Office of Jeremy Rosenberg
                          30 Broad Street
                          New York, New York 10004


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            Abraham Poznanski, et al. v. Danny Turetsky, et al.
            Supreme/New York 652449/2013

            5.      Plaintiffs Abraham Poznanski, Avital Holdings, LLC, Steinborgh
                    Group, Inc. and Abraham Poznanski as assignee of SJB Capital,
                    LLC
                    c/o Berg & David PLLC
                    Attn: David Berg, Esq. and Abraham David, Esq.
                    266 Broadway – Suite 503
                    Brooklyn, New York 11211

            6.      Defendants Danny Turetsky, Edwin Cohen and West 58th Street,
                    LLC
                    c/o Herrick Feinstein LLP
                    2 Park Avenue
                    New York, New York 10016

            7.      Defendant Jump Partners, LLC
                    c/o Levitin & Assocs., P.C.
                    1430 Broadway – Suite 1605
                    New York, New York 10018

            8.      Defendant Hudson River Financing Corporation
                    c/o W/K Incorporating Services, Inc.
                    3500 S. Duporit Hwy.
                    Dover, Delaware 19901

            9.      Defendants Herbst & Associates and Ronald S. Herbst
                    c/o Katsy Korins LLP
                    605 Third Avenue
                    New York, New York 10158

            10.     Defendants TSR Group, LLC and Eliezer Swerdloff
                    c/o Brown Moskowitz & Kallen, P.C.
                    180 River Road
                    Summit, New Jersey 07901

            SOVA Merritt, LLC v. Abraham Poznanski and Wells Fargo Bank,
            N.A., Supreme/New York 652449/2013

            11.     Plaintiff SOVA Merritt, LLC
                    c/o Matthew Sheppe, Esq.
                    425 Madison Avenue, 19th Floor
                    NY, NY 10017

            12.     Defendant Wells Fargo, N.A.

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                           Peter A. Ragone, Esquire
                           Wells Fargo Bank, N.A.
                           110 Wall Street, 23rd Floor
                           NY, NY 10005

                   13.     Abraham Poznanski
                           c/o Berg & David PLLC
                           Attn: David Berg, Esq. and Abraham David, Esq.
                           266 Broadway – Suite 503
                           Brooklyn, New York 11211

            C. The following includes the names and addresses of all entities against whom the SAL
               Administrators are seeking provisional relief pursuant to § 1519 of the Bankruptcy
               Code:

                   1.      All parties to litigation listed above in Section B.

                   2.      Abraham Poznanski
                           c/o Berg & David PLLC
                           Attn: David Berg, Esq. and Abraham David, Esq.
                           266 Broadway – Suite 503
                           Brooklyn, New York 11211

                   3.      Armand Lasky
                           c/o Robinson Brog Leinwand Greene Genovese & Gluck P.C.
                           875 Third Avenue
                           New York, New York 10022

                   4.      SOVA Management, LLC2*
                           c/o Abraham Poznanski (see above in Section B)

                   5.      SOVA Holdings, Inc.*
                           c/o Abraham Poznanski (see above in Section B)

                   6.      SOVA Merritt, LLC*
                           c/o Abraham Poznanski (see above in Section B)

                   7.      SOVA Merritt Holdings, LLC*
                           c/o Abraham Poznanski (see above in Section B)

                   8.      Nashville Properties, LLC (see above in Section B)


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  *Abraham Poznanski is currently holding himself out as having control of the U.S. Entities. As
a result, the Petitioners have listed Poznanski’s attorney as the relevant address, but dispute
Poznanski’s right to exercise control and reserve their right to dispute such control.

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                   9.      Nashville Properties Holdings, LLC
                           c/o Nashville Properties LLC (see above in Section B)

                   10.     Shelbourne Global Solutions, LLC
                           c/o Evan M. Newman, Esquire
                           Newman Law, P.C.
                           377 Pearsall Avenue, Suite C
                           Cedarhurst, New York 11516

                   11.     Shelbourne Global TN, LLC
                           c/o Evan M. Newman, Esquire
                           Newman Law, P.C.
                           377 Pearsall Avenue, Suite C
                           Cedarhurst, New York 11516

                   12.     Nashville Management, LLC
                           c/o Evan M. Newman, Esquire
                           Newman Law, P.C.
                           377 Pearsall Avenue, Suite C
                           Cedarhurst, New York 11516

                   13.     Prodigy Management Group, LLC
                           c/o Abraham Poznanski (see above in Section B)

                   14.     Northeastern Security Development Corp.
                           c/o Armand Lasky (see above in Section B)

    II.        Corporate Ownership Statement Pursuant to 1007(4)(A) and Rule 7007.1(a)

            D. While Bankruptcy Rule 7001.1(a) does not apply to this case because this is not an
               adversarial proceeding, please see paragraph 18 of the Verified Petition concerning the
               ownership of SAL.




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Dated: New York, New York
October 31, 2014
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                                      By:    /s/ Michael Devorkin
                                             Michael S. Devorkin, Esq.
                                             Marc D. Rosenberg, Esq.

                                      Counsel for Petitioners




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